Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                NNN Szechuan, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4309 198th St SW
                                  Lynnwood, WA 98036
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Snohomish                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 19-14545-MLB                 Doc 1        Filed 12/17/19            Ent. 12/17/19 11:29:26                Pg. 1 of 35
Debtor    NNN Szechuan, LLC                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                 Case 19-14545-MLB                       Doc 1     Filed 12/17/19              Ent. 12/17/19 11:29:26                   Pg. 2 of 35
Debtor   NNN Szechuan, LLC                                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                Case 19-14545-MLB                    Doc 1        Filed 12/17/19            Ent. 12/17/19 11:29:26                  Pg. 3 of 35
Debtor    NNN Szechuan, LLC                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 17, 2019
                                                  MM / DD / YYYY


                             X   /s/ Ni Xu                                                                Ni Xu
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Darrel B. Carter                                                      Date December 17, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Darrel B. Carter
                                 Printed name

                                 CBG Law Group
                                 Firm name

                                 11400 SE 8th St Suite 235
                                 Bellevue, WA 98004
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (425) 283-0432                Email address      darrel@cbglaw.com

                                 20318 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
                 Case 19-14545-MLB                 Doc 1         Filed 12/17/19             Ent. 12/17/19 11:29:26                Pg. 4 of 35
 Fill in this information to identify the case:

 Debtor name         NNN Szechuan, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration    Profit and Loss

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 17, 2019                       X /s/ Ni Xu
                                                                       Signature of individual signing on behalf of debtor

                                                                       Ni Xu
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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               Case 19-14545-MLB                          Doc 1          Filed 12/17/19            Ent. 12/17/19 11:29:26       Pg. 5 of 35
 Fill in this information to identify the case:
 Debtor name NNN Szechuan, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                          Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Express                                                Credit card                                                                                              $29,949.00
 PO Box 981540                                                   purchases
 El Paso, TX
 79998-1540
 Chou Accounting &                                               Professional Fees                                                                                          $4,020.00
 Tax
 14040 NE 8th St,
 Bellevue, WA 98007
 Chunpeng Yi                                                     Wages                                                                                                    $19,200.00
 15827 NE Leary Way
 #B117
 Redmond, WA
 98052
 CitiBank                                                        Credit card                                                                                              $31,990.00
 PO Box 6241                                                     purchases
 Sioux Falls, SD
 57117
 Department of Labor                                             Taxes                                                                                                      $1,844.00
 & Ind
 PO Box 44000
 Olympia, WA
 98504-4000
 Department of                                                   Taxes                                                                                                    $34,172.00
 Revenue
 2101 4th Ave #1400
 Seattle, WA 98121
 Dept of Employment                                              Taxes                                                                                                        $950.00
 Sec.
 Tax Branch F3
 M/S KG-11
 Olympia, WA 98504
 Dong Hing Market                                                Trade debt                                                                                                 $4,286.00
 525 S Jackson St
 Seattle, WA 98104
 Haijun Chen                                                     Wages                                                                                                      $3,500.00
 2`607 53rd Ave W
 Mountlake Terrace,
 WA 98043

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                    Case 19-14545-MLB                          Doc 1      Filed 12/17/19              Ent. 12/17/19 11:29:26                        Pg. 6 of 35
 Debtor    NNN Szechuan, LLC                                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Huanqi Ou                                                       Trade debt                                                                                                 $6,000.00
 7720Melrose Ln SE
 Snoqualmie, WA
 98065
 Hung San Food, Inc                                              Trade debt                                                                                                 $2,663.00
 22613 76th Ave S,
 Kent, WA 98032
 Jiao Liu                                                        Wages                                                                                                      $4,000.00
 20421 24th Ave W
 Lynnwood, WA
 98036
 Lianzhand Li                                                    Wages                                                                                                      $8,160.00
 20421 24th Ave W
 Lynnwood, WA
 98036
 PUD Snohomish                                                   Utility Bill                                                                                               $1,257.00
 County
 PO Box 1100
 Everett, WA 98206
 Puget Sound Energy                                              Utility Bill                                                                                               $1,842.00
 PO Box 91269
 Bellevue, WA
 98009-9269
 Puget Sound Energy                                              Utility Bill                                                                                               $4,086.00
 PO Box 91269
 Bellevue, WA
 98009-9269
 R&L Little Famiy                                                Lease                                                                                                  $117,524.00
 Property N.3
 24223 21ST DR SE
 Bothell, WA 98021
 US Treasury                                                     Taxes                                                                                                    $15,411.00
 PO Box 7346
 Philadelphia, PA
 19101-7346
 Wei Xie                                                         Wages                                                                                                      $2,019.00
 15724 2nd Lane W
 Lynnwood, WA
 98087
 Yongwei Weng                                                    Wages                                                                                                      $6,182.00
 20421 24th Ave W
 Lynnwood, WA
 98036




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                    Case 19-14545-MLB                          Doc 1        Filed 12/17/19            Ent. 12/17/19 11:29:26                        Pg. 7 of 35
 Fill in this information to identify the case:

 Debtor name            NNN Szechuan, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            95,438.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           206,236.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             301,674.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                 Case 19-14545-MLB                                     Doc 1              Filed 12/17/19                         Ent. 12/17/19 11:29:26                            Pg. 8 of 35
 Fill in this information to identify the case:

 Debtor name         NNN Szechuan, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Chase                                                   Checking                                                                         $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                           $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         NNN Szechuan, LLC                                                            Case number (If known)
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 2
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              Case 19-14545-MLB                          Doc 1       Filed 12/17/19       Ent. 12/17/19 11:29:26      Pg. 10 of 35
 Debtor          NNN Szechuan, LLC                                                                                   Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy



               Case 19-14545-MLB                             Doc 1            Filed 12/17/19                    Ent. 12/17/19 11:29:26                 Pg. 11 of 35
 Fill in this information to identify the case:

 Debtor name         NNN Szechuan, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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              Case 19-14545-MLB                          Doc 1       Filed 12/17/19    Ent. 12/17/19 11:29:26                Pg. 12 of 35
 Fill in this information to identify the case:

 Debtor name         NNN Szechuan, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $19,200.00          $13,650.00
           Chunpeng Yi                                               Check all that apply.
           15827 NE Leary Way                                           Contingent
           #B117                                                        Unliquidated
           Redmond, WA 98052                                            Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $1,844.00         $1,844.00
           Department of Labor & Ind                                 Check all that apply.
           PO Box 44000                                                 Contingent
           Olympia, WA 98504-4000                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 6
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              Case 19-14545-MLB                          Doc 1           Filed 12/17/19                   Ent. 12/17/19 11:29:26          Pg. 13 of 35
 Debtor       NNN Szechuan, LLC                                                                               Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $34,172.00    $34,172.00
          Department of Revenue                                      Check all that apply.
          2101 4th Ave #1400                                            Contingent
          Seattle, WA 98121                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $950.00     $950.00
          Dept of Employment Sec.                                    Check all that apply.
          Tax Branch F3                                                 Contingent
          M/S KG-11                                                     Unliquidated
          Olympia, WA 98504                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $3,500.00    $3,500.00
          Haijun Chen                                                Check all that apply.
          2`607 53rd Ave W                                              Contingent
          Mountlake Terrace, WA 98043                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Jian Yun Ye                                                Check all that apply.
          16772 NE 86th                                                 Contingent
          #C7                                                           Unliquidated
          Redmond, WA 98052                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 6
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              Case 19-14545-MLB                          Doc 1           Filed 12/17/19                   Ent. 12/17/19 11:29:26        Pg. 14 of 35
 Debtor       NNN Szechuan, LLC                                                                               Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $4,000.00    $0.00
          Jiao Liu                                                   Check all that apply.
          20421 24th Ave W                                              Contingent
          Lynnwood, WA 98036                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $8,160.00    $8,160.00
          Lianzhand Li                                               Check all that apply.
          20421 24th Ave W                                              Contingent
          Lynnwood, WA 98036                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $15,411.00    $15,411.00
          US Treasury                                                Check all that apply.
          PO Box 7346                                                   Contingent
          Philadelphia, PA 19101-7346                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $2,019.00    $2,019.00
          Wei Xie                                                    Check all that apply.
          15724 2nd Lane W                                              Contingent
          Lynnwood, WA 98087                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 6
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              Case 19-14545-MLB                          Doc 1           Filed 12/17/19                   Ent. 12/17/19 11:29:26        Pg. 15 of 35
 Debtor        NNN Szechuan, LLC                                                                              Case number (if known)
               Name

 2.11       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $6,182.00    $6,182.00
            Yongwei Weng                                             Check all that apply.
            20421 24th Ave W                                            Contingent
            Lynnwood, WA 98036                                          Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $29,949.00
           American Express                                                            Contingent
           PO Box 981540                                                               Unliquidated
           El Paso, TX 79998-1540                                                      Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Credit card purchases
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $900.00
           B&D Foods                                                                   Contingent
                                                                                       Unliquidated
           Date(s) debt was incurred                                                   Disputed
           Last 4 digits of account number                                         Basis for the claim:     Trade debt
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $4,020.00
           Chou Accounting & Tax                                                       Contingent
           14040 NE 8th St,                                                            Unliquidated
           Bellevue, WA 98007                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Professional Fees
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $31,990.00
           CitiBank                                                                    Contingent
           PO Box 6241                                                                 Unliquidated
           Sioux Falls, SD 57117                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Credit card purchases
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $4,286.00
           Dong Hing Market                                                            Contingent
           525 S Jackson St                                                            Unliquidated
           Seattle, WA 98104                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 4 of 6
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 Debtor       NNN Szechuan, LLC                                                                       Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $686.00
          Evergreen Sanitation                                                  Contingent
          2910 Old Hartford Rd                                                  Unliquidated
          Lake Stevens, WA 98258                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Bill
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $402.00
          Frontier Communications                                               Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Utility Bill
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,000.00
          Huanqi Ou                                                             Contingent
          7720Melrose Ln SE                                                     Unliquidated
          Snoqualmie, WA 98065                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,663.00
          Hung San Food, Inc                                                    Contingent
          22613 76th Ave S,                                                     Unliquidated
          Kent, WA 98032                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,257.00
          PUD Snohomish County                                                  Contingent
          PO Box 1100                                                           Unliquidated
          Everett, WA 98206                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Bill
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,086.00
          Puget Sound Energy                                                    Contingent
          PO Box 91269                                                          Unliquidated
          Bellevue, WA 98009-9269                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Bill
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,842.00
          Puget Sound Energy                                                    Contingent
          PO Box 91269                                                          Unliquidated
          Bellevue, WA 98009-9269                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Bill
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5 of 6
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              Case 19-14545-MLB                          Doc 1        Filed 12/17/19              Ent. 12/17/19 11:29:26                           Pg. 17 of 35
 Debtor       NNN Szechuan, LLC                                                                       Case number (if known)
              Name

 3.13      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $117,524.00
           R&L Little Famiy Property N.3                                        Contingent
           24223 21ST DR SE                                                     Unliquidated
           Bothell, WA 98021                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Lease
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.14      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $175.00
           Washington Alarm                                                     Contingent
           2030 Airport Way South                                               Unliquidated
           Seattle, WA 98134                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Bill
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.15      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $456.00
           Waste Management                                                     Contingent
           Attn: Legal                                                          Unliquidated
           PO Box 541008                                                        Disputed
           Los Angeles, CA 90054-1008
                                                                             Basis for the claim:    Utility Bill
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the           Last 4 digits of
                                                                                                      related creditor (if any) listed?                 account number, if
                                                                                                                                                        any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                        95,438.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       206,236.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          301,674.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 6 of 6
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              Case 19-14545-MLB                          Doc 1        Filed 12/17/19              Ent. 12/17/19 11:29:26                           Pg. 18 of 35
 Fill in this information to identify the case:

 Debtor name         NNN Szechuan, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   business lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                3
                                                                                      R&L Little Famiy Property N.3
             List the contract number of any                                          24223 21ST DR SE
                   government contract                                                Bothell, WA 98021




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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              Case 19-14545-MLB                          Doc 1       Filed 12/17/19     Ent. 12/17/19 11:29:26                 Pg. 19 of 35
 Fill in this information to identify the case:

 Debtor name         NNN Szechuan, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                     Name                          Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                    State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                    State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                    State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                    State      Zip Code




Official Form 206H                                                             Schedule H: Your Codebtors                                     Page 1 of 1
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              Case 19-14545-MLB                          Doc 1       Filed 12/17/19      Ent. 12/17/19 11:29:26            Pg. 20 of 35
Fill in this information to identify your case:

Debtor 1                      Ni Xu

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       WESTERN DISTRICT OF WASHINGTON

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $              0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1

                Case 19-14545-MLB                 Doc 1     Filed 12/17/19           Ent. 12/17/19 11:29:26                   Pg. 21 of 35
Debtor 1   NNN Szechuan, LLC                                                                     Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $                0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $                0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $                0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $                0.00
     5e.    Insurance                                                                     5e.        $              0.00     $                0.00
     5f.    Domestic support obligations                                                  5f.        $              0.00     $                0.00
     5g.    Union dues                                                                    5g.        $              0.00     $                0.00
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $                0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00     $                0.00
     8e. Social Security                                                                  8e.        $              0.00     $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                  0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                  0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                  0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $                 0.00 + $               0.00 = $              0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $              0.00
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                        page 2

           Case 19-14545-MLB                  Doc 1        Filed 12/17/19         Ent. 12/17/19 11:29:26                         Pg. 22 of 35
Fill in this information to identify your case:

Debtor 1                 Ni Xu                                                                              Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   WESTERN DISTRICT OF WASHINGTON                                              MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.    Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
      Debtor 2.                                     each dependent..............    Debtor 1 or Debtor 2                 age              live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                                                                                      Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                                  0.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.    $                                0.00
      4d. Homeowner’s association or condominium dues                                                      4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.    $                                0.00




Official Form 106J                                                    Schedule J: Your Expenses                                                            page 1


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Debtor 1     NNN Szechuan, LLC                                                                         Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                    0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                    0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                    0.00
      6d. Other. Specify:                                                                    6d. $                                                    0.00
7.    Food and housekeeping supplies                                                           7. $                                                   0.00
8.    Childcare and children’s education costs                                                 8. $                                                   0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                   0.00
10.   Personal care products and services                                                    10. $                                                    0.00
11.   Medical and dental expenses                                                            11. $                                                    0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                    0.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                    0.00
14.   Charitable contributions and religious donations                                       14. $                                                    0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                             0.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                             0.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                                     0.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                                    0.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                    0.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2


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 Fill in this information to identify the case:

 Debtor name         NNN Szechuan, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $414,085.00
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $842,469.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $981,732.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       NNN Szechuan, LLC                                                                         Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Dong Hing Market                                                                             $15,200.00                Secured debt
               525 S Jackson St                                                                                                       Unsecured loan repayments
               Seattle, WA 98104
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None



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 Debtor        NNN Szechuan, LLC                                                                           Case number (if known)



               Recipient's name and address                     Description of the gifts or contributions                  Dates given                        Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                  lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address
       11.1.    CBG Law Group
                11400 SE 8th St Suite 235
                Bellevue, WA 98004                                   Attorney Fees                                                                      $2,700.00

                Email or website address
                darrel@cbglaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers           Total amount or
                                                                                                                        were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                     Date transfer          Total amount or
               Address                                          payments received or debts paid in exchange                was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.




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 Debtor      NNN Szechuan, LLC                                                                          Case number (if known)




           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was              Last balance
               Address                                          account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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 Debtor      NNN Szechuan, LLC                                                                          Case number (if known)




          None

       Facility name and address                                     Names of anyone with                 Description of the contents                   Do you still
                                                                     access to it                                                                       have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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 Debtor      NNN Szechuan, LLC                                                                          Case number (if known)



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Chou Accounting & Tax
                    14040 NE 8th St,
                    Bellevue, WA 98007

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Manquing Li
                    914 140 NE
                    Bellevue, WA 98007

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ni Xu                                          13022 NE 10th St                                    Manager                               64.5%
                                                      Bellevue, WA 98005

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Qinnan Du                                      14480 NE 31st St #J304                              Member                                35.5%
                                                      Bellevue, WA 98007



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


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 Debtor      NNN Szechuan, LLC                                                                          Case number (if known)



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 Qinnan Du
       .    14480 NE 31st St #J304                                                                                       Throughout
               Bellevue, WA 98007                               20000                                                    Year              Wages

               Relationship to debtor
               Member`


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         December 17, 2019

 /s/ Ni Xu                                                              Ni Xu
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re       NNN Szechuan, LLC                                                                                Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,700.00
             Prior to the filing of this statement I have received                                        $                     2,700.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     December 17, 2019                                                            /s/ Darrel B. Carter
     Date                                                                         Darrel B. Carter
                                                                                  Signature of Attorney
                                                                                  CBG Law Group
                                                                                  11400 SE 8th St Suite 235
                                                                                  Bellevue, WA 98004
                                                                                  (425) 283-0432 Fax: (425) 283-5560
                                                                                  darrel@cbglaw.com
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      NNN Szechuan, LLC                                                                            Case No.
                                                                                    Debtor(s)            Chapter     7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       December 17, 2019                                           /s/ Ni Xu
                                                                         Ni Xu/Manager
                                                                         Signer/Title




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BANKRUPTCY & COLLECTIONS         DEPT OF EMPLOYMENT SEC.              PUD SNOHOMISH COUNTY
800 5TH AVE                      TAX BRANCH F3                        PO BOX 1100
SUITE 2000                       M/S KG-11                            EVERETT, WA 98206
SEATTLE, WA 98104                OLYMPIA, WA 98504
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UNITED STATES ATTORNEY           DONG HING MARKET                     PUGET SOUND ENERGY
700 STEWART ST                   525 S JACKSON ST                     PO BOX 91269
SUITE 5220                       SEATTLE, WA 98104                    BELLEVUE, WA 98009-9269
SEATTLE, WA 98101


US ATTORNEY GENERAL              EVERGREEN SANITATION                 R&L LITTLE FAMIY PROPERTY N
US DEPT OF JUSTICE               2910 OLD HARTFORD RD                 24223 21ST DR SE
950 PENNSYLVANIA AVE. NW         LAKE STEVENS, WA 98258               BOTHELL, WA 98021
WASHINGTON, DC 20530-0001


AMERICAN EXPRESS                 FRONTIER COMMUNICATIONS              US TREASURY
PO BOX 981540                                                         PO BOX 7346
EL PASO, TX 79998-1540                                                PHILADELPHIA, PA 19101-7346




B&D FOODS                        HAIJUN CHEN                          WASHINGTON ALARM
                                 2`607 53RD AVE W                     2030 AIRPORT WAY SOUTH
                                 MOUNTLAKE TERRACE, WA 98043          SEATTLE, WA 98134




CHOU ACCOUNTING & TAX            HUANQI OU                            WASTE MANAGEMENT
14040 NE 8TH ST,                 7720MELROSE LN SE                    ATTN: LEGAL
BELLEVUE, WA 98007               SNOQUALMIE, WA 98065                 PO BOX 541008
                                                                      LOS ANGELES, CA 90054-1008


CHUNPENG YI                      HUNG SAN FOOD, INC                   WEI XIE
15827 NE LEARY WAY               22613 76TH AVE S,                    15724 2ND LANE W
#B117                            KENT, WA 98032                       LYNNWOOD, WA 98087
REDMOND, WA 98052


CITIBANK                         JIAN YUN YE                          YONGWEI WENG
PO BOX 6241                      16772 NE 86TH                        20421 24TH AVE W
SIOUX FALLS, SD 57117            #C7                                  LYNNWOOD, WA 98036
                                 REDMOND, WA 98052


DEPARTMENT OF LABOR & IND        JIAO LIU
PO BOX 44000                     20421 24TH AVE W
OLYMPIA, WA 98504-4000           LYNNWOOD, WA 98036




DEPARTMENT OF REVENUE            LIANZHAND LI
2101 4TH AVE #1400               20421 24TH AVE W
SEATTLE, WA 98121                LYNNWOOD, WA 98036




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                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      NNN Szechuan, LLC                                                                              Case No.
                                                                                     Debtor(s)             Chapter     7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for NNN Szechuan, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 December 17, 2019                                                     /s/ Darrel B. Carter
 Date                                                                  Darrel B. Carter
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for NNN Szechuan, LLC
                                                                       CBG Law Group
                                                                       11400 SE 8th St Suite 235
                                                                       Bellevue, WA 98004
                                                                       (425) 283-0432 Fax:(425) 283-5560
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